                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                              3:09cv131-W
                         (3:95cr5-03-BOYLE1)



JACKIE McKUBBIN,              )
     Petitioner,              )
                              )
       v.                     )                       ORDER
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)

      THIS MATTER comes before the Court on Petitioner’s form-

Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

Sentence, filed January 26, 2009.         For the reasons stated herein,

Petitioner’s Motion will be dismissed.

                I.   FACTUAL AND PROCEDURAL BACKGROUND

      The record of this matter reflects that on January 4, 1995,

a multi-count Bill of Indictment was filed, charging Petitioner

and twenty other persons with violations of federal laws relating

to, inter alia, controlled substances and firearms.              (Case No.

3:95cr5-B, document no. 3).        On March 3, 1995, a written Plea


      1
       The Honorable Terrence W. Boyle, United States District Judge for the
Eastern District of North Carolina, presided over Petitioner’s criminal
proceedings and over most of the related civil proceedings which Petitioner
brought in this Court. However, this case now has been reassigned to the
Honorable Frank D. Whitney, United States District Judge for the Western
District of North Carolina.




     Case 3:95-cr-00005-FDW    Document 797    Filed 04/08/09   Page 1 of 5
Agreement was filed, whereby Petitioner agreed to plead guilty to

having conspired to possess with intent to distribute cocaine and

cocaine base, in violation of 21 U.S.C. §§841(a)(1) and 846

(Count One), and to having transferred a firearm with the intent

that it be used to commit a drug trafficking offense, in viola-

tion of 18 U.S.C. §§ 924(h) and 924(a)(3).         (Case No. 3:95cr5-B,

Doc. No. 111).

     On September 29, 1995, the Court conducted Petitioner’s

Factual Basis and Sentencing Hearing.       During that proceeding,

pursuant to the express terms of the parties’ Plea Agreement,

including Petitioner’s stipulation to the applicability of “en-

hancements for 21 U.S.C. §860," the Court added two points to his

offense level under U.S.S.G. §2D1.2.        Based upon the totality of

its findings, the Court concluded that Petitioner’s total adjust-

ed Offense Level was 43; that he was a Career Offender; and that

his Criminal History Category was VI.       Thereafter, Petitioner was

sentenced to a mandatory term of life imprisonment for the con-

spiracy conviction, and to 10 years imprisonment for the firearm

conviction.    (Case No. 3:95cr5-B, Doc, No. 272).            Petitioner did

not appeal either his convictions or sentences.

     Instead, on April 10, 1996, Petitioner began his assiduous

pursuit of collateral relief with the filing of his first Motion

to Vacate.    See McKubbin v. United States, 3:96cv129-B.            However,

on November 8, 1996, the Court dismissed that Motion, and, in an


                                   2


    Case 3:95-cr-00005-FDW   Document 797    Filed 04/08/09    Page 2 of 5
unpublished decision, the Fourth Circuit Court of Appeals upheld

the dismissal.   See McKubbin v. United States, No. 97-6173 (4th

Cir. 1997).

     Next, on January 22, 2001, Petitioner filed a post-judgment

document captioned as a Motion to Dismiss Indictment which was

construed as a second/successive motion under 28 U.S.C. § 2255

because it alleged various violations under Apprendi v. New

Jersey, 530 U.S. 466 (2000).     (Case No. 3:95cr5-B, Doc. No. 576).

Not surprisingly, therefore, on May 7, 2001, this Court dismissed

that motion for Petitioner’s failure to have secured the proper

pre-filing authorization as is required under 28 U.S.C. §2244-

(b)(3).   (Case No. 3:95cr5-B, Doc. No. 588).        Petitioner appealed

the dismissal of his successive motion, but his appeal also was

dismissed by the Fourth Circuit.       See United States v. McKubbin,

No. 01-6943 (4th Cir. Oct. 26, 2001).

     On December 9, 2002, Petitioner filed a motion captioned as

a “Motion for Specific Performance of the Plea Agreement between

the Government and the Defendant.” (Case No. 3:95cr5, Doc. No.

630).   However, this Court construed that document as yet another

successive, unauthorized motion to vacate and, on January 3,

2003, entered an Order dismissing said motion pursuant to 28

U.S.C. § 2244(b)(3).    (Case No. 3:95cr5, Doc. No. 636).          Peti-

tioner also was unsuccessful in his appeal of the dismissal of

that Motion for Specific Performance.       See United States v.


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    Case 3:95-cr-00005-FDW   Document 797   Filed 04/08/09   Page 3 of 5
McKubbin, No. 03-6807 (4th Cir. July 31, 2003).

     Perhaps having learned from this Court’s Orders, Petitioner

twice filed motions in the Fourth Circuit Court of Appeals

seeking permission to file successive motions to vacate.

However, on both occasions, Petitioner’s motions were denied.

See In Re: Jackie McKubbin, No. 05-464 (October 12, 2005); and In

Re: Jackie McKubbin, No. 98-523 (March 12, 1998).

     Petitioner now has returned to this Court on the instant §

2255 Motion, contending that he is entitled to be re-sentenced

because a 1986 conviction for assault-on-a-female which he repor-

tedly sustained under the alias “William Charles Gilchrist” (in

the Superior Court of Mecklenburg County) recently was vacated.

Nonetheless, Petitioner still is not entitled to proceed on this

successive motion, notwithstanding his strong belief in its

potential merit.

                             II.   ANALYSIS

     As Petitioner previously was told on more than one occasion,

before a second or successive § 2255 motion can be filed in the

district court, the petitioner must “move the appropriate court

of appeals for an order authorizing the district court to consi-

der the [motion].”   28 U.S.C. § 2244(b)(3)(A).          Indeed, in the

absence of such authorization, this Court lacks the authority to

even to entertain Petitioner’s successive motion.              Burton v.

Stewart, 549 U.S. 147, 152-53 (2007).


                                    4


    Case 3:95-cr-00005-FDW   Document 797     Filed 04/08/09   Page 4 of 5
     Here, Petitioner does not assert, nor is there any indica-

tion in the record, that he has secured permission to bring the

instant claim.     Accordingly, this Court may not entertain the

merits of Petitioner’s newest Motion to Vacate.

                             III.   CONCLUSION

     Petitioner has brought this successive Motion to Vacate

without first having secured authorization for it from the Fourth

Circuit Court of Appeals.      Therefore, this Court lacks jurisdic-

tion to entertain the merits of the Motion, and must dismiss said

action.

                                IV.   ORDER

     Petitioner’s successive, unauthorized Motion to Vacate is

DISMISSED without prejudice.

     SO ORDERED.



                                      Signed: April 7, 2009




                                      5


    Case 3:95-cr-00005-FDW    Document 797      Filed 04/08/09   Page 5 of 5
